Case 2:24-cr-00189-

AD-DJA _ Document 6: Filed 08/23/2
Case 2:24-cr 00180. JAD-D *SEALED e

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* Document 4 *SEALED Filed 08/20/24 Page 2 of 3

_ AO 442 (Rev. 01/09) Arrest Warrant

ENTERED SERVED ON |
UNITED STATES DISTRICT COURT COUNSELIPARTIES OF RECORD

for the AUG 70 2024
District of Nevada STIG AleToInT OF
CLERK US DISTRICT COURT
Fy A Af | O [ | | DISTRICT OF NEVADA
United ~ of America y: . DEPUTY
) Case No. 2:24-cr- 7 $f b~-HTA
WYATT CLIFFORD FAIN ) OF-TIDDIA
er a ‘Defendant Ree )
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) WYATT CLIFFORD FAIN ‘
who is accused of an offense or violation based on the following document filed with the court:

Indictment 3 Superseding Indictment [_liatormation bcd Superseding Information [J eonnptett
[ | Probation Violation Petition Ea Supervised Release Violation Petition | Tvidtaitont Notice [ Jovder of the Court

Fri
This offense is briefly described as follows: | | ee arene oe ee |

18 U.S.C. § 1361 ~ Injury and Depredation of Government Property; and COUNSEL/PARTIES OF RECORD

18 U.S.C. §2 ~ Aiding and Abetting
AUG 2 3 2024
CLERK US ul. COURT |
: DISTR. SC? Poe = |
By et 06
DEBRA K. KEMPI 08/20/24 Las Vegas, NV
CLERK . DATE
Caphe fA top:
(By) DEPUTY CLERK
Return

This warrant was received on (date) @/ 20 la ZOZY _ ,and the person was arrested on (date) e/- 23 / ZO2ZY
at (city and state) LAS VEGAS NY“ week ee

Date: 2: 20 /2Y eee et wT. Si ‘ieviatdieiah

“Arresting officer's signature

Frofe- USMS

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